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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

   In re:                                      §
                                               §      Case No. 18-60103-RBK
   COREY WAYNE BUSH & SANDRA                   §
   BUSH,                                       §
                                               §      Chapter 7
   Debtors.                                    §

                       NOTICE OF WITHDRAWAL OF
        OBJECTION OF THE BRUUN-ANDERSEN FAMILY ESTATE TRUST
                    TO THE AMENDED AGREED MOTION
           TO APPROVE GLOBAL SETTLEMENT AND COMPROMISE
  PURSUANT TO RULE 9019 BETWEEN THE DEBTORS, KEITH BUSH, THE SCOTTS
  AND THE TRUSTEE, INCLUDING (I) DISMISSAL OF ADVERSARY PROCEEDINGS
  FILED PURSUANT TO 11 U.S.C. §§ 523 AND 727, (II) SALE OF ASSETS AT PRIVATE
      SALE TO KEITH BUSH AND (III) ABANDONMENT OF CERTAIN EQUITY
                   [RELATING TO DOCKET NOS. 134 & 143]

  TO THE HONORABLE RONALD B. KING, CHIEF UNITED STATES BANKRUPTCY
  JUDGE FOR THE WESTERN DISTRICT OF TEXAS:

            COMES NOW The Bruun-Andersen Family Estate Trust (the “BAFET”), and files this

  Notice of Withdrawal of its Objection to the above entitled Amended Agreed Motion. In support,

  the BAFET states as follows:

            1.      The BAFET hereby withdraws its Objection [Docket No. 143] to the Amended

  Agreed Motion to Approve Global Settlement and Compromise [Docket No. 134].




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   Dated: March 28, 2019                            Respectfully Submitted,

                                                    KELL C. MERCER, P.C.
                                                    1602 E. Cesar Chavez Street
                                                    Austin, Texas 78702
                                                    (512) 627-3512
                                                    (512) 597-0767 (fax)
                                                    kell.mercer@mercer-law-pc.com

                                                    By: /s/ Kell C. Mercer____
                                                       Kell C. Mercer
                                                       Texas State Bar No. 24007668

                                                    COUNSEL TO THE BRUUN-ANDERSEN
                                                    FAMILY ESTATE TRUST

                                 CERTIFICATE OF SERVICE

         I hereby certify that I have placed a copy of the above Withdrawal of Objection to Corey
  Wayne Bush and Sandra Bush, Debtors, 3800 Southlake Dr., Belton, TX 76513 and Keith Bush,
  533 Dale, Robinson, TX 76706 by First Class U.S. Mail and to Erin B. Shank, Attorney for
  Debtors, Erin B. Shank, P.C., 1902 Austin Ave., Waco, TX; Eric Terry, Attorney for Debtors,
  3511 Broadway St., San Antonio, TX 78209; Eric Taube, Attorney for Todd and Karen Scott &
  Riley Scott Custom Homes, L.L.C., Waller, Lansden, Dortch & Davis, LLP, 100 Congress Ave.,
  Ste. 1800, Austin, TX 78701; Deborah D. Williamson, Attorneys for the Robinson Charitable
  Remainder Unitrust; James E. Studensky, Chapter 7 Trustee, 3912 W. Waco Dr., Waco, TX 76710
  and to those parties listed on the Court’s Notice of Electronic Filing on March 28, 2019 by
  Electronic Notification.

                                             /s/ Kell C. Mercer
                                                Kell C. Mercer




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